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 4
     Attorney for Defendant
 5   Nicholas Ramirez
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 8                   IN THE UNITED STATES DISTRICT COURT

 9             IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

10
                                       )   Case No. Cr.S 11-190 MCE
11   UNITED STATES OF AMERICA,         )
                                       )   STIPULATION TO CONTINUE
12             Plaintiff,              )   STATUS
                                       )
13        vs.                          )   ORDER
     NICHOLAS RAMIREZ,                 )
14   TIFFANY BROWN                     )
                                       )
15             Defendant               )
                                       )
16

17                                 STIPULATION
18       Plaintiff United States of America, by and through its
19
     counsel of record, and the defendant’s herein, by and through
20
     their counsel of record, hereby stipulates as follows:
21
         By previous order, this matter was set for status on
22
     February 15, 2018.
23
         By this stipulation, defendants now move to continue the
24
     status conference until June 14, 2018, and to exclude time
25




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     between February 15, 2018 and June 14, 2018 under Local Code T4.
 1
     Plaintiff agrees with this request.
 2
         Counsel for defendants desire additional time to review
 3

 4   documents and to consult with their clients in efforts to

 5   resolve this case. The government has agreed it should have a

 6   plea agreement by then and counsel should have had an

 7   opportunity to discuss it with his client.

 8       The government agrees to the continuance.
 9       Based on the above-stated findings, the ends of justice
10
     served by continuing the case as requested outweigh the interest
11
     of the public and the defendant in a trial within the original
12
     date prescribed by the Speedy Trial Act.
13
         For the purpose of computing time under the Speedy Trial
14
     Act, 18 U.S.C. § 3161, et seq., within which trial must
15
     commence, the time period of February 15, 2018, to June 14,
16
     2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§
17
     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
18

19
     continuance granted by the Court at defendant’s request on the

20   basis of the Court's finding that the ends of justice served by

21   taking such action outweigh the best interest of the public and

22   the defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h).

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         Nothing in this stipulation and order shall preclude a
 1
     finding that other provisions of the Speedy Trial Act dictate
 2
     that additional time periods are excludable from the period
 3

 4   within which a trial must commence.

 5

 6   DATED: February 12, 2018                 Respectfully submitted

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 8                                            /S/MICHAEL B. BIGELOW
                                              Michael B. Bigelow
 9                                            Attorney for Nicholas Ramirez
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 1   IT IS SO STIPULATED
 2
     /S/ JASON HITT
 3
     Jason Hitt, Esq.,                               Dated: February 12, 2018
 4   Assistant United States Attorney
     Attorney for Plaintiff
 5

 6
     /S/MICHAEL B. BIGELOW                           Dated: February 12, 2018
 7   Michael B. Bigelow
     Attorney for Defendant
 8   Nicholas Ramirez
 9   /s/Dina Santos
     Dina Santos,                                    Dated: February 12, 2018
10
     Attorney for
11
     Tiffany Brown

12

13                                         ORDER

14       It is hereby ordered, pursuant to the foregoing

15   stipulation, that the above referenced matter shall be continued

16   until June 14, 2018, 10:00 AM, and time excluded for the reasons
17   set forth above.
18
         IT IS SO ORDERED.
19
     Dated:     February 15, 2018
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